                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION - BAY CITY

IN RE:

         DONALD L. BURKE,                                    Case No. 10-22936-dob
                                                             Chapter 7 Proceeding
            Debtor.                                          Hon. Daniel S. Opperman
_____________________________________/
AMBER BARNES and COURTNEY LANE,

         Plaintiffs,

v.                                                           Adversary Proceeding
                                                             Case No. 10-2288-dob
DONALD L. BURKE,

      Defendant.
_____________________________________/

        OPINION GRANTING APPLICATION FOR COMPENSATION RELATED TO
      DEFENDANT’S MOTION TO SET ASIDE DEFAULT AND DEFAULT JUDGMENT

         On September 13, 2011, the Court entered an Order Setting Aside the Default and Default

Judgment in this adversary proceeding. The Court directed Plaintiffs’ counsel to submit an

application for attorney fees and expenses and then allowed the Defendant an opportunity to respond

to that application. On September 27, 2011, Plaintiffs’ counsel submitted an Application for

Compensation seeking $7,300.00 in fees based upon 36.5 hours of services at the rate of $200.00

per hour. Defendant objected to this Application on October 7, 2011. The Court has reviewed the

pleadings of the parties, as well as the arguments of counsel made on February 17, 2011, and

September 8, 2011.

         Defendant objects to the request for $7,300.00 because the hours reported by Plaintiffs’

counsel totaled 34.75, as opposed to 36.5. After reviewing the Application, the Court concludes that

Defendant is correct and that the proper number of hours for consideration is 34.75.


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       Defendant next argues that the hourly rate of $200.00 per hour for Plaintiffs’ counsel is

excessive and is beyond the median hourly rate of $150.00 per hour and the mean hourly rate of

$187 as reported by the State Bar of Michigan in the 2010 Economics of Law Practice, Attorney

Income and Billing Rate Summary Report. The Court overrules this objection of the Defendant and

notes that the hourly rate normally allowed by the Court in matters such as the instant case would

be far in excess of the $200.00 per hour requested by Plaintiffs’ counsel in this case given the

experience and skill of Plaintiffs’ counsel. Although Defendant is correct that Plaintiffs’ counsel

has his office in Arenac County, the Court concludes that the $200.00 per hour request in Plaintiffs’

counsel’s Application is reasonable under these circumstances, given the venue of this case.

       Defendant also argues that Plaintiffs’ counsel should not be compensated for services

rendered prior to the motion to set aside the default and default judgment. After a close review of

the Application, the Court concludes that the services rendered as requested by Plaintiffs’ counsel

are reasonable and necessary and would not have been incurred had Defendant timely answered the

Complaint or otherwise appropriately responded. In this regard, the Court notes that Plaintiffs’

counsel had to expend time and expense in preparing a default judgment and attending the hearing

on the motion for default judgment that would have been unnecessary had Defendant promptly and

properly acted. Accordingly, the Court overrules Defendant’s objections in that regard.

       Finally, the Defendant objects that services in connection with the so-called “341 transcripts”

should not be compensated because these transcripts were not necessary for the obtaining of the

default judgment. The Court has reviewed the February, 2011, hearing and agrees with Defendant

that Plaintiffs’ counsel did not refer to the first meeting of creditors transcripts at that hearing.

Moreover, the Court has reviewed the docket and cannot find any reference to the first meeting of

creditors transcripts that would support compensating Plaintiffs’ counsel for these services.


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Accordingly, the Court reduces the hours for services rendered on December 28, 2010, June 2, 2011,

and August 17, 2011, which total 2.75 hours.

       All other objections raised by the Defendant having been decided or overruled, the Court

concludes that Plaintiffs’ counsel’s attorney fees should be reduced by 2.75 hours for a total of 32

hours and, at the rate of $200.00 per hour, $6,400.00 should be awarded in favor of Plaintiffs’

counsel and against Defendant.

       Defendant also sought the request for additional time beyond the original 63 days set forth

in the previous Order of this Court. Given the delay of the Court in addressing the issues in this

Opinion, the Court denies the request of Defendant, but will allow 63 days from the date of the entry

of the Order corresponding with this Opinion for Defendant to pay the fees awarded in this Opinion.
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Signed on December 23, 2011
                                                          /s/ Daniel S. Opperman
                                                        Daniel S. Opperman
                                                        United States Bankruptcy Judge




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